
989 So.2d 92 (2008)
STATE ex rel. Artmore WILSON
v.
STATE of Louisiana.
No. 2007-KH-2135.
Supreme Court of Louisiana.
August 29, 2008.
In re Wilson, Artmore;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of St. Tammany, 22nd Judicial District Court Div. D, No. 279-779; to the Court of Appeal, First Circuit, No. 2007 KW 1474.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
WEIMER, J., recused.
